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 Report of the College Working Group on
         Diversity and Inclusion
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Harvard University
November 2015




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                                                 Introduction
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The Mission of Harvard College
Harvard College is committed to a broad-based liberal arts education. A quality, well-
rounded education combines the best of the philosophical and rhetorical traditions.
The philosophical tradition, with its emphasis on inquiry and developing critical skills,
cultivates ways of thinking that can expand knowledge through research and analysis.
The rhetorical tradition complements the philosophical by fostering an understanding
of the past and present through literature, art, music, history, religion, and ethics. As a
leading research as well as teaching university, Harvard derives its mission from our
motto, Veritas, literally "truth." Harvard is committed to expanding both knowledge and
ways of knowing; students not only explore subject areas and acquire fresh insights
into them but also learn about the ways in which they are part of larger human
communities of interest and interdependence and how their membership in these
communities affects how it is that they "know."

Thus, Harvard College aims to provide an education that nurtures the whole person
while fostering the development of civic-minded, socially engaged, creative, and
critical thinkers in an increasingly interconnected world. Of particular relevance to this
report, Harvard fosters the ability to see the world through the eyes of others. That
ability will position Harvard graduates to serve the broader society in many fields of
human endeavor.

Harvard cultivates these abilities in its classrooms and residential environments. The
classroom exposes students to innovative perspectives as well as to both new and
traditional ways of knowing and understanding. Diverse living environments situate
students among peers and elders studying in different fields, who come from different
walks and stages of life, and whose developing identities interact with others. This sort
of character formation, nurtured by Harvard's heterogeneous campus environment and
pedagogical emphasis on intellectual cross-pollination, is intended to inform the
choices and habits Harvard graduates will carry into their respective spheres of
influence. Therefore, Harvard embraces, and must constantly reaffirm, the notion that a
richly diverse student body is essential to its pedagogical objectives and institutional
mission.

Harvard College is neither a finishing school nor a luxury good for America's elites. Its
primary work does not end with the admissions process but, rather, begins the moment
its students enter its gates.




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Historical Context
A pledge to diversity can be traced to Harvard's founding. The charter of the President
and Fellows of Harvard College, authorized by Governor Thomas Dudley in 1650,
describes the purpose of the institution as "the education of the English and Indian
[male] youth of this country." Harvard established its Indian College, where five
American Indians received their education, in 1655. This reveals that Harvard's earliest
commitments were informed by a belief in the transformative power of education, even
as this education was premised upon what we now recognize as cultural bias regarding
who and what was "civilized."

As such an educational paradox shows, Harvard College's aspirations have always run
ahead of its realities, for both cultural and structural reasons. Culturally, Harvard
College has always been limited by the context and ruling beliefs of its society, even as
 it has continually tried to push and challenge itself and the world. Thus Harvard's Indian
College pedagogy reflected an almost universal European belief in cultural hierarchy, as
 well as prejudicial notions to the effect that knowledge was to be transmitted to Indian
students rather than produced in dialogic exchange. Meanwhile, despite the existence
and aims of the Indian College, Harvard remained, for three centuries, committed
 primarily to educating the sons of New England's elite. Although Radcliffe College
traces its origins to 1879, women did not gain full access to Harvard until nearly a
century later. Under the presidency of Abbott Lawrence Lowell (1909 1933), the
 Harvard administration restricted the numbers of Jewish students and barred the
 handful of African American men at the College from residing in freshman dormitories.
(Painter 1971) Sexual minorities, in the meantime whatever their racial or class origins
    were deemed unfit to be members of the Harvard College community: in the 1920s,
students believed to have same-sex attraction were tried in secret courts and expelled
from the College.

Harvard law professor Randall Kennedy best summarizes the history of Harvard's
relationship with students of color when he writes, in Blacks and the Race Question at
Harvard, "Harvard, too, has been indelibly scarred by slavery, exclusion, segregation,
and other forms of racist oppression." The University enrolled few students of color
before the 1970s, and even those as talented and ultimately accomplished as Clement
Morgan, W.E.B. Du Bois, Alain Locke, William Monroe Trotter, Countee Cullen, and Eva
Dykes(among others) experienced isolation and marginalization. As Du Bois described
his time at Harvard, he was "in it, but not of it." And it was not until 346 years after Joel
lacoome and Caleb Cheeshahteaumuck completed their studies at the Indian College
that another Wampanoag, Tiffany Smalley, graduated from Harvard College, in 2011.




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Just as Harvard's culture has been closely linked to its societal context, so have its
structural inequities. Both survey findings and personal accounts suggest that a gender
gap deters potential female math concentrators at Harvard, even as women, and
especially women of color, are underrepresented in STEM fields nationally.(Kim 2015)
Today's wealttlgap_in the United States is the widest in three decades, and most
wealth gains since the Great Recession of 2007 — 2009 have gone to upper-income
families.(Fry 2014) As Harvard University's Robert Putnam argues in Our Kids: The
American Dream in Crisis, wealth inequality hardens social divisions by diminishing
opportunities for youth to interact across social lines. Such inequality also concentrates
educational resources and cultural capital.

Harvard College is now committed to cutting against the grain of both structural and
cultural sources of inequality. In an amicus curiae brief submitted when the Supreme
Court addressed affirmative action in the 1978 case Regents of the University of
California v. Bakke, Harvard argued that, "A primary value of the liberal education
should be exposure to new and provocative points of view, at a time in the student's
life when he or she has recently left home and is eager for new intellectual
experiences." In a subsequent affirmative action case, Grutter v. Bollinger(2003),
Harvard made a similar argument:

      Diversity helps students confront perspectives other than their own and
      thus to think more rigorously and imaginatively; it helps students learn to
      relate better to people from different backgrounds; it helps students to
      become better citizens. The educational benefits of student diversity
      include the discovery that there is a broad range of viewpoints and
      experiences within any given minority community—as well as learning
      that certain imagined differences at times turn out to be only skin deep.

Underscoring its commitment to diversity that includes both racial and socio-economic
background, Harvard, in 2004, launched one of the most generous financial aid
initiatives in the nation. Students from households earning less than $65,000 per year
pay nothing toward room and board, and students from households earning $65,000 to
$150,000 pay ten percent or less of their yearly incomes. Around seventy percent of
Harvard students receive financial assistance and over twenty percent pay no tuition at
all. Capacious admission standards that take a range of life experiences and fluid
identities into consideration, coupled with generous financial aid plans, enable Harvard
College to expand opportunity for a widening cross section of students. This is
essential for creating the conditions in which Harvard students can learn to be at home
in an increasingly interconnected world.



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The Charge of the Working Group on Diversity and Inclusion
Mindful of the mission and aspirations described above, the Working Group on
Diversity and Inclusion, in consultation with the Office of the Dean of the College,
drafted a charge in May of 2014. The Working Group was to "assess Harvard College's
learning environment in order to ensure that all students benefit equally from its liberal
arts educational and service mission." The task included consulting with stakeholders
across the University, incorporating research at the intersections of race, ethnicity,
socioeconomic status, and other frames of identity and difference, and examining
approaches at peer institutions in order to recommend models that might be applied or
reimagined on Harvard's campus.


                                         Findings

Evaluation of Diversity-Related Practices at Peer Institutions
Members of the Working Group visited Ivy League campuses between September and
December 2014. We met with student leaders and administrators at Brown, Columbia,
Princeton, University of Pennsylvania, and Yale, and with administrators at Cornell and
Dartmouth. Our goals were to assess pre-orientation programs, mentoring, mental
health programs, administrative structures, bias reporting procedures, residential
support, multicultural spaces, curricular offerings, arid special initiatives. Our findings in
these areas provide much food for thought:

Pre-Orientation
Pre-orientation programs tend to function in one of three ways, with some overlap.
They provide academic support and advising (Penn's Pre-Freshman Program); insti l l
cultural capital through campus orientation, fostering relationships with faculty, and
raising awareness about campus resources for promoting social and academic
success (Yale's Cultural Connections); or develop cultural competency (Brown's Third
World Transition Program).

The experiences of these schools show why pre-orientation programs are vital to the
success of all students. They provide a shared institutional vocabulary and robust
engagement with issues of diversity and cultures of inclusion. They also enable
attention to the needs of underrepresented students, especially those who are first
generation and socio-economically disadvantaged, while fostering community for the
entire population across lines of difference.




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